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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:16-CR-00199-GEB
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           [PROPOSED] FINDINGS AND ORDER
14   KIONI DOGAN,                                        DATE: May 4, 2018
     GLORIA HARRIS, and                                  TIME: 9:00 a.m.
15   LAVONDA BAILEY,                                     COURT: Hon. Garland E. Burrell, Jr.
16                                Defendants.
17

18                                               STIPULATION
19         1.      By previous order, this matter was set for status on May 4, 2018.
20         2.      By this stipulation, defendants now move to continue the status conference until July 20,
21 2018, and to exclude time between May 4, 2018, and July 20, 2018, under Local Code T4.

22         3.      The parties agree and stipulate, and request that the Court find the following:
23                 a)      The government has represented that the discovery associated with this case
24         includes in excess of 14,000 pages, including multiple search warrants. All of this discovery has
25         been either produced directly to counsel and/or made available for inspection and copying.
26                 b)      Counsel for defendants desire additional time in particular in order to continue
27         reviewing and analyzing the discovery in this case, as well as to conduct investigation and
28         research related to the charges, to discuss potential resolutions with their clients, and to otherwise

      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]       1
30    FINDINGS AND ORDER
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 1        prepare for trial. Mr. Gable recently substituted into this case as well as Ms. Dogan’s other

 2        pending case, 2:16-cr-00198 JAM. He has been reviewing the discovery in that case, consisting

 3        of over 3,000 pages and has just started a review of the discovery in this case.

 4                c)      Counsel for defendants believe that failure to grant the above-requested

 5        continuance would deny counsel the reasonable time necessary for effective preparation, taking

 6        into account the exercise of due diligence.

 7                d)      The government does not object to the continuance.

 8                e)      Based on the above-stated findings, the ends of justice served by continuing the

 9        case as requested outweigh the interest of the public and the defendant in a trial within the

10        original date prescribed by the Speedy Trial Act.

11                f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

12        et seq., within which trial must commence, the time period of May 4, 2018 to July 20, 2018,

13        inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

14        because it results from a continuance granted by the Court at defendants’ request on the basis of

15        the Court’s finding that the ends of justice served by taking such action outweigh the best interest

16        of the public and the defendant in a speedy trial.

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     STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]       2
30   FINDINGS AND ORDER
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 1          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

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     Dated: May 1, 2018                                       MCGREGOR W. SCOTT
 6                                                            United States Attorney
 7
                                                              /s/ CHRISTOPHER S. HALES
 8                                                            CHRISTOPHER S. HALES
                                                              Assistant United States Attorney
 9
10
     Dated: May 1, 2018                                       /s/ HAYES GABLE III
11                                                            HAYES GABLE III
                                                              Attorney for Defendant
12                                                            KIONI DOGAN
13

14 Dated: May 1, 2018                                         /s/ STEVEN B. PLESSER
                                                              STEVEN B. PLESSER
15
                                                              Attorney for Defendant
16                                                            GLORIA HARRIS

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18 Dated: May 1, 2018                                         /s/ ROBERT WILSON
                                                              ROBERT WILSON
19                                                            Attorney for Defendant
                                                              LAVONDA BAILEY
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                                            FINDINGS AND ORDER
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            IT IS SO FOUND AND ORDERED.
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            Dated: May 1, 2018
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      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]        3
30    FINDINGS AND ORDER
